Case 3:21-cv-01458-JLS-DEB Document 6 Filed 10/05/21 PageID.87 Page 1 of 54
                                        NUNCPROTUNC
                                          Oct 04 2021
                                                                          Oct 05 2021
  1   Name: Fernando Gastelum
  2   Address: 209 W. 9th Street, Casa Grande, AZ 85122                     s/ TrishaF

      Telephone Number: 520-560-0927
  3   Email: fernandog8899@gmail.com
  4   Prose

  5                         UNITED STATES DISTRICT COURT
  6                        SOUTHER DISTRICT OF CALIFORNIA

  7   Fernando Gastelum,
  8                                                 Case No.: 3:21-cv-01458-JLS-DEB
                           Plaintiff,
  9                                                      ANSWER TO MOTION TO
      vs.                                                 DISMISS COMPLAINT
 10
 11   Pinnacle Hotel Circle LP
      dba Comfort Inn and Suites San
 12   Diego Zoo SeaWorld Area,
 13
                           Defendant.
 14
 15         This is the third time in as many cases involving Mr. Stillman that Mr.
 l6   Stillman threatens me for filing a civil rights complaint. He now threatens me yet

 17   again with filing a Rule 11 Motion for Sanctions for filing the complaint unless I
      dismiss it. Exhibits 4-5 to my declaration. Mr. Stillman know that I have standing
 18
      to assert a disability claim because I sent him a copy of the case where I was a
 19
      plaintiff which found that to be a fact. Exhibit 1 to my Declaration. His threats
 20
      arise out of his first involvement in one of my cases where he told me this:
 21
            As you know, I represent defendant TC HERITAGE INN 2 OF BAKERSFIELD
 22         LLC. Attached hereto is a Notice of Motion and Motion for Rule 11
            Sanctions. Pursuant to Fed.R.Civ.P. 11, you are entitled to 21 days' notice
 23
            before a party can file a Motion for Sanctions, which you are being given
 24         today. If you do not withdraw your frivolous and false complaint, my
            client will file the attached motion, and seek all of its attorney's fees
 25
            incurred in defending this frivolous action.
 26
            Remember this email. I intend to get your complaint dismissed, require
 27
            you to post a bond in the unlikely event that it is not dismissed with
 28         prejudice, and my client will seek all of its attorney's fees from you. I think
                                                   1
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  1         that your litigation history from the Arizona federal courts speaks for
            itself, but my client will also seek to have you declared a vexatious litigant,
  2
            which will require you to obtain prior permission from the presiding judge
  3         before you file a complaint. At this time, my client will accept an
            immediate dismissal with prejudice, and you may go about your business
  4
            against other defendants. If not, I will be filing a motion to dismiss based
  5         on Gastelum v. Canyon Hospitality, LLC, which others whom you have
            sued will be able to access and use to get your complaints dismissed
  6
            against them with little cost to them, which will further impede your new
  7         business venture in California.

  8
            I strongly encourage you to take this matter seriously.
  9
            Exhibit 2 to my declaration.
 10
            I also object to Mr. Stillman's talking about my former lawyer as if that has
 11
      something to do with his client's violations of my civil rights. I am also surprised
 12
      that Mr. Stillman talks about to the case of Gastelum v. Canyon Hosp. LLC, No.
 13
      CV-17-02792-PHX-GMS that was later overruled by Judge Campbell in
 14   Gastelum v. Pacific Heritage Inn of Chandler, CV-18-01271-PHX-DGC. Exhibit
 15   1 to my declaration. As I read the CREEC case, my motive is not important, and
 16   I can be an ADA "tester" which is what I am. Mr. Stillman cannot claim that he
 17   does not know that the Heritage Inn of Chandler case overruled the Canyon
 18   Hosp. LLC case because I sent it to him twice before and once again with my
 19   declaration in this case.

 20         I do not appreciate being attacked by Mr. Stillman when all I am trying to

 21   assert my civil rights. I have read the CREEC case and the Whitaker case, I
      visited the hotel before I sued it, I encountered barriers and I am deterred from
 22
      returning. My complaint may not have legalese, but I am smart enough to
 23
      understand that my civil rights have been violated. I do not deserve to be treated
 24
      ·the way Mr. Stillman treats me. I filed a two page complaint that shows I am
 25
      missing a leg, I visited Defendant's hotel and I found numerous violations of the
 26
      ADA. It shouldn't matter that sometimes I use a wheelchair and sometimes I use
 27
      a prosthetic leg and a cane because it is impractical to use a wheelchair where
 28
      a public accommodation is not wheelchair friendly, like the hotel in this case.
                                                    2
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  1           I was always under the impression that lawyers are not supposed to
  2   intimidate and threaten people. I had no idea that filing an ADA claim by a

  3   disabled person is wrong.

  4           Defendant claims that my case must be dismissed because, according to
      Mr. Stillman, it does not tell "(1) the scope of Plaintiff's alleged disability, (2) how
  5
      any of the alleged 'barriers' that Plaintiff supposedly found at the Hotel are
  6
      barriers to him (meaning me) and (3) that Plaintiff has any, bona fide intent to
  7
      return to the Hotel."
  8
              What Mr. Stillman says is just wrong. In the very first paragraph of the
  9
      Complaint, I say, "My name is Fernando Gastelum. I am 61 years old. I am
 10
      missing a leg and use a wheelchair for mobility." Then, in Paragraphs 4 (a) -(c) I
 11
      describe the barriers and how these barriers are barriers to me. I state:
 12              a. Curb ramp is located on the accessible parking access aisle. This
 13                 condition makes it more difficult for me to maintain control of the
                    wheelchair when exiting the car.
 14
                 b. Access aisle does not connect an accessible route. This condition
 15
                    makes it more difficult for me to access the entrance.
 16
                 c. Access aisle slope is too steep. This condition makes it more
 17                 difficult for me to control the wheelchair when using the access isle.
 18
              I further support these statements with my declaration and photographs at
 19
      pages 3 and 4 with documented photographs.
 20           In Paragraph 6 I also say that "I will not want to revisit the Public
 21   Accommodation because it is not fully compliant with the Americans with
 22   Disabilities Act and the California's civil rights laws and California civil rights
 23   _laws." But of course, I will revisit the Public Accommodation when it has fully
 24   complied with the Americans with Disabilities Act and the California's civil rights
 25   laws.
 26           I also say that " I was denied equal access to the hotel by defendant by

 27   not complying with the ADA and California's civil rights laws as stated above."
      All these statements are true.
 28

                                                  3
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  I           In the section "RELIEF REQUESTED" I ask for:
  2      1. Order Defendant to comply with the ADA and California civil rights
  3         law or close its Public Accommodation.

  4      2. Order Defendant to pay my cost and expenses. If I retain a lawyer,
            then also lawyer's fees.
  5
  6     3. Damages under California law for $4,000 per violation for a total to
           be determined at a hearing.
  7
  8      4. Other relief that I am entitled to.

  9   I. I Have Standing.
 IO
              In response to Mr. Stillman's almost identical motion filed in two other
 11   cases, I googled "standing" and "ADA" and "9 th Circuit". I was taken to the
 12   following website http://cdn.ca9.uscourts.gov/datastore/opinions/2021 /01 /25/19-
 13   56497.pdf. The website contains a decision Brian Whitaker v. Tesla Motors.
 14   This case discusses "standing." It says that Brian Whitaker had "standing"
 15   because his complaint alleged that he uses a wheelchair for mobility, that he
 16   visited the defendant's premises, that he personally encountered a barrier
 17   related to his disability and that the barrier deters him from returning. The Court

 18   said that these allegations are sufficient to establish injury-in-fact for purposes of

 19   standing.
              My Complaint makes exactly the same statements. (1) I am disabled and
 20
      use a wheelchair for mobility. (2) I state that I visited Defendant's premises. (3) I
 21
      say that I personally encountered barriers that relate to my missing leg. (4) I say
 22
      that I will not return until the Hotel is ADA compliant. And these statements are
 23
      true.
 24
              I also googled and came across another decision that supports my
 25
      position. Civil Rights Education and Enforcement Center v. Hospitality
 26   Properties Trust.
 27   II. My Complaint Is Good.
 28

                                                  4
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  1         The Brian Whitaker v. Tesla Motors case also says that Brian Whitaker
  2   had to explain how the service counter at the Tesla dealership denied him full
  3   and equal access. The Court stated that Brian Whitaker's complaint failed to

  4   answer the basic question:
            The complaint failed to answer basic questions: Were the service
  5
            counters too low? Or too high? Were they positioned in an area that
  6         was inaccessible for another reason? Without this sort of factual
            detail, the district court and Tesla were left in the dark about how the
  7         service counters denied Whitaker from full and equal enjoyment of
  8         the premises.

  9         But my complaint clearly shows how the barriers relate to my missing leg.
 10   It is not as if I am blind and complaining about mobility barriers. I am missing a
 11   leg and I complain about mobility barriers at the hotel. I tried to explain this in
 12   paragraph 4(a)-(c) of my Complaint where I say:

 13         a.      Curb ramp is located on the accessible parking access aisle.
                 This condition makes it more difficult for me to maintain control of
 14              the wheelchair when exiting the car.
 15
            b. Access aisle does not connect an accessible route. This condition
 16            makes it more difficult for me to access the entrance.
 17         c. Access aisle slope is too steep. This condition makes it more
 18            difficult for me to control the wheelchair when using the access
               isle.
 19
 20         I support these statement in my declaration where I say:
 21              a. Curb ramp is located on the accessible parking access aisle. This
                    condition makes it more difficult for me to maintain control of the
 22                 wheelchair when exiting the car:
 23
 24
 25
 26
 27
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                                                 5
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  1
  2             b. Access aisle does not connect to an accessible route. This condition
                   makes it more difficult for me to access the entrance.
  3
  4
  5
  6
  7
  8
  9
                c. Access aisle slope is too steep. This condition makes it more
 10                difficult for me to control the wheelchair when using the access
 11                aisle.

 12
 13
 14
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 16
 17
 18
 19
 20   Ill. Troy Sims's, and Phillip Stillman's Declarations.
 21         I do not think it is fair that Troy Sims is allowed to submit a Declaration
 22   that are pretty misleading. I have detailed how they are misleading in my own

 23   attached Declaration which is part of this Answer.

 24         With respect to Mr. Stillman's Declaration, I do not know how it relates to
      his client's violations of the Americans with Disabilities Act. I am like Mr.
 25
      Whitaker in the Whitaker v. Tesla case. I file many cases. But, unlike Mr.
 26
      Whitaker, I allege precisely how my lost limb is affected by the barriers at
 27
      Defendant's hotel.
 28

                                                 6
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      1         Again, I do not appreciate Mr. Stillman threatening me. I may not be a
  2       lawyer, but my claim follows the cases pretty good.
  3             I attach my own declaration that provides further detail of the violations at
  4       the Hotel, and specifically describes how these violations denied me equal
  5       access. My Declaration also addresses the Declarations submitted by Mr.

  6       Stillman.                          / ,-1"       t,,/df-tv'
  7             RESPECTULL Y SUBMITTED this 27tl, day-of Se~teR'lbet 2021.

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                  -',,_
                    -~/,;,L-~=~~~i2~L~=c:~1;2~::::,.:>-
                -Fernando    ~z~         l         -
  9                           Gastelum
 10
                 I mailed this Answer to the Clerk of the United States District Court
 11        Eastern District Of California on this 1st day of October, and emailed to copy to
          counsel for Defendant.
 12              ,¢---    _/
 13             ~hc-5 .___
                Fernando Gastelum
 14
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  1
  2
                                           EXHIBIT 1
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  4
  5    M Gmai!
  6
        Notice of Motion and Motion for Rule 11 Sanctions
  7     1~
        Phllll>H. S i l l m a n ~ -
  8     ~ femando ~ <l'l!IIB~l!ill.a:m>


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  1   Name: Fernando Gastelum
  2   Address: 209 W. 9th Street, Casa Grande, AZ 85122
      Telephone Number: 520-560-0927
  3   Email: fernandog8899@gmail.com
  4   Prose

  5
                            UNITED STATES DISTRICT COURT
  6                        SOUTHER DISTRICT OF CALIFORNIA

  7   Fernando Gastelum,
  8                                              Case No.: 3:21-cv-01458-JLS-DEB
                          Plaintiff,
  9                                                 DECLARATION OF FERNANDO
      vs.                                                  GASTELUM
 10
 11   Pinnacle Hotel Circle LP
      dba Comfort Inn and Suites San
 12   Diego Zoo SeaWorld Area,
 13
                           Defendant.
 14

 15         I make the following declaration under the penalty of perjury.
 16   I. About my Disability.
 17      1. I am missing my left leg just below the knee since February of 2015.
 18      2. The missing left leg substantially limits my major life activity of walking.
 19      3. Since 2015, I have been using a wheelchair for mobility in locations that
 20         are designed for wheelchair use, that is, accessible routes that provide

 21         firm, level surface and that are wide enough to navigate my wheelchair.

 22      4. Where the locations are not designed for the use of a wheelchair, that is,
            accessible routes do not provide firm, level surface, or are not wide
 23
            enough to navigate my wheelchair, I must use my prosthetic leg and a cane
 24
            to move short distances.
 25
         5. I prefer to use a wheelchair because walking on the prosthesis is painful,
 26
            uncomfortable, and causes the prosthesis to rub against my skin. When I
 27
            use the prosthetic, my leg sweats which in turn loosens the prosthetic
 28
                                                1
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   1        sleeve that begins to slip back and forth. I can no longer walk then. This
   2        requires me to stop, remove the prosthetic leg, let the sleeve dry up, and
   3        then put the prosthetic leg back on again.
   4     6. Even with the use of the prosthesis and a cane, my ability to walk is

   5        severely restricted.

   6     7. I have two types of wheelchairs: A non-motorized wheelchair as shown on
            my Facebook page and the electric Pride Victory 9 Mobility Scooter. Both
   7
            are depicted below:
   8
   9
  10

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 10
          8. The use of a wheelchair, even where the accessible route is wheelchair
 11
                friendly, causes secondary problems. For example, opening doors that
 12             require significant pulling or pushing to open the door is significantly
 13             restricted when using the wheelchair.
 14       9. The use of the prosthesis and a cane for short distances limits the use of
 15             my arms and hands because the right arm and hand are used for the cane
 16             and cannot be used for opening doors. Door opening requires the use of
 17             two hands: one to turn the handle, the other to push the door open.

 18             Additionally, I cannot use my body to lean into a door to open it because
                that causes additional stress on the prosthetic leg.
 19
          10.         When I plan to visit a public place, I prepare myself for all conditions
 20
                and bring with me the wheelchair, the prosthesis and a cane.
 21
          11.         I have been declared disabled by the Arizona Department of
 22
                Transportation. The license plate on my car shows a disabled designation
 23
                which entitles me to preferential parking in handicapped parking spots and
 24
                passenger drop off zones.
 25    II. My Investigations Prior to Filing the Suit In This Case
 26       12.         I visited Defendant's Hotel on or about July 2, 2021.
 27
 28

                                                   3
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   1     13.         When I came to the Hotel, I noted that it was not compliant with the
   2           Americans with Disabilities Act and the California's civil rights laws and

   3           California disabled person's law in the following respects:

   4              a. Curb ramp is located on the accessible parking access aisle. This
                     condition makes it more difficult for me to maintain control of the
   5                 wheelchair when exiting the car:
   6
   7
   8
   9
  10
  11
  12              b. Access aisle does not connect to an accessible route. This condition
  13                 makes it more difficult for me to access the entrance.

  14
  15
  16
  17
  18
  19
  20              c. Access aisle slope is too steep. This condition makes it more
                     difficult for me to control the wheelchair when using the access
  21                 aisle.
  22
  23
  24
  25
  26
  27
  28
       Ill. What I did Before I Brought Suit against Defendant.
                                               4
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   1       14.          I have been previously involved in ADA lawsuits. I reviewed prior
   2             decisions in the lawsuit that I filed. I confirmed that the Honorable David G.
   3             Campbell, United States District Court Judge for the District of Arizona
   4             found that I have standing to pursue ADA claims. Exhibit 1.

   5       15.          I also googled "standing" and "ADA" and "9 th Circuit". I was taken to

   6             the                              following                              website
                 http://cdn.ca9 .uscourts.gov/datastore/opinions/2021 /01 /25/19-56497 .pdf.
   7
                 The website contains a decision Brian Whitaker v. Tesla Motors, that
   8
                 discusses "standing". It says that Brian Whitaker had "standing" because
   9
                 his complaint alleged that he uses a wheelchair for mobility, that he visited
  10
                 the defendant's premises, that he personally encountered a barrier related
  11
                 to his disability and that the barrier deters him from returning. The Court
  12
                 said that these allegations are sufficient to establish injury-in-fact for
  13             purposes of standing.
  14       16.          My Complaint in this case makes exactly the same statements. (1) I
  15             am disabled and use a wheelchair for mobility. (2) I state that I visited
  16             Defendant's premises. (3) I personally encountered barriers that relate to
  17             my use of the wheelchair. (4) I am "deterred" from returning.
  18       17.          In my Complaint, I do not use the word "deterred", but instead state

  19             that "I will not want to revisit the Hotel because it is not fully compliant with

 20              the Americans with Disabilities Act and the California's civil rights laws and
                 California disabled person's laws". Complaint statement of fact no. 6.
 21
                 Meriam Webster on line dictionary defines the term "deter" to mean" to turn
 22
                 aside, discourage,     or   prevent    from   acting".   https://www.merriam-
 23
                 webster.com/dictionary/deter. My statement is the same as if I said I was
 24
                 "deterred".
 25
           18.          I googled another decision that supports my position. Civil Rights
 26
                 Education and Enforcement Center v. Hospitality Properties Trust 1 .
 27
       1
  28    https://www.ndrn.org/images/Documents/Advocacy/Amicus_Activity/CREEC_C
       upolo-Freeman_v._Hospitality_Properties_Trust-DECISION_8-9-2017. pdf.
                                             5
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   1      19.          Based on these authorities, I concluded that I could file the complaint
   2            against Defendant.
   3   IV. Events Before Defendant Filed its Motion to Dismiss.

   4     20.          On September 8, 2021, Mr. Stillman sent me an email in which he

   5            threatened me with a Rule 11 Motion (which he did not attach), to have me
                declared a vexatious litigant, and have the Court make me post a bond, if
   6
                I did not dismiss the case.
   7

   8               As you know, I represent defendant TC HERITAGE INN 2 OF BAKERSFIELD
   9               LLC. Attached hereto is a Notice of Motion and Motion for Rule 11
                   Sanctions. Pursuant to Fed. R. Civ. P. 11, you are entitled to 21 days'
  10               notice before a party can file a Motion for Sanctions, which you are being
  11               given today. If you do not withdraw your frivolous and false complaint,
                   my client will file the attached motion, and seek all of its attorney's fees
  12               incurred in defending this frivolous action.
  13
                   Remember this email. I intend to get your complaint dismissed, require
  14               you to post a bond in the unlikely event that it is not dismissed with
  15               prejudice, and my client will seek all of its attorney's fees from you. I
                   think that your litigation history from the Arizona federal courts speaks
  16               for itself, but my client will also seek to have you declared a vexatious
  17               litigant, which will require you to obtain prior permission from the
                   presiding judge before you file a complaint. At this time, my client will
  18               accept an immediate dismissal with prejudice, and you may go about
  19               your business against other defendants. If not, I will be filing a motion to
                   dismiss based on Gastelum v. Canyon Hospitality, LLC, which others
  20               whom you have sued will be able to access and use to get your
  21               complaints dismissed against them with little cost to them, which will
                   further impede your new business venture in California.
  22
  23               I strongly encourage you to take this matter seriously.
                Exhibit 2.
  24
         21.          True to his threat, Mr. Stillman send me another Rule 11
  25
                Motion in another case he threatened to file unless I dismissed that
  26
                case .. Exhibit 3.
  27
          22.          Mr. Stillman sent me another Rule 11 Motion in this case
  28
                which he would file unless I dismiss the case. Exhibit 4.
                                                      6
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   1        23.            In addition to the Rule 11 Motion in this case, Exhibit 4, Mr.
   2              Stillman sent me an order entered against an attorney who has not
   3              been my counsel since 2018. Exhibit 5.

   4        24.            The constant email threatening me with the loss of my pt

   5              Amendment Right to redress my ADA grievance and demand the

   6              posting of a bond is so intimidating that I find it difficult to believe that
                  it legal. I reviewed California's ethical Rule 3.10 (a) which specifically
   7
                  prohibits a lawyer from threatening administrative charges to obtain
   8
                  an advantage in a civil case. Rule 3.1 O(b) defines "administrative
   9
                  charges" like this:
  10
                     As used in paragraph (a) of this rule, the term "administrative
  11                 charges" means the filing or lodging of a complaint with any
                     governmental organization that may order or recommend the
  12
                     loss or suspension of a license, or may impose or recommend
  13                 the imposition of a fine, pecuniary sanction, or other sanction of
                     a quasi-criminal nature but does not include filing charges with
  14                 an administrative entity required by law as a condition
  15                 precedent to maintaining a civil action.

  16        25.            These threats by Mr. Stillman are repetitive from one case to the
  17              next; in fact, in filing the Declaration of Troy Sims, Mr. Stillman used the
  18              same declaration as used in another case, but he forgot to change the

  19              caption from "dba Larkspur Landing Sacramento" and the real name of

  20              this hotel, "Comfort Inn and Suites San Diego Zoo SeaWorld Area":

  21
                      FERNANDO GASTELUM, an               Case No. 3:21-cv-01458-JLS-DEB
                      individual,
  22                                                      DECLARATION OF TROY SIMS IN
                                             Plaintiff.   SUPPORT OF MOTION TO DISMISS
                      V.                                  COMPLAINT
  23
                      PINNACLE HOTEL CIRCLE, L.P.
                      dba Larkspur Landing Sacramento,
  24                                                      Date:      November 18, 2021
                                            Defendant.    Time:      l :30 p.m.
  25                                                      Courtroom: 4D

  26
  27   V.         Declaration of Troy Sims is Misleading

  28

                                                            7
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   1     26.          In his Declaration, Mr. Sims misleadingly changes my allegations of
   2           a "visit" to his hotel to my "staying" in his hotel. I did not stay at his hotel.
   3           The ADA violations prevented me from staying there. Complaint at 3. ("I

   4           visited the hotel on July 2, 2021."

   5     27.          Mr. Sims offers a video of my walking on the prosthetic leg and with
               a cane. As explained above under the section I. About my Disability in
   6
               paragraphs 1-9, It shouldn't matter that sometimes I use a wheelchair and
   7
               sometimes I use a prosthetic leg with a cane because it is impractical to
   8
               use a wheelchair where a public accommodation is not wheelchair
   9
               friendly, like the hotel in this case. Paragraphs 1-11 also explain the
  10
               additional mobility impairments when I use the prosthetic leg with a cane
  11
               that I do not experience when using the wheelchair.
  12     VIII.    Declaration of Philip Stillman and the attachments in the Request
  13              for Judicial Notice are not relevant whether his client is or is not
                  ADA compliant.
  14
         28.          I admit that I do not see the relevance of Mr. Stillman's Declaration
  15
               or the attachments to the Request for Judicial Notice.
  16
               I SWEAR that the above is true and correct to the best of my knowledge,
  17
               memory and belief.
  18
               SIGNED this 1st day of October 2021.
  19
  20
  21                                              Fernando Gastelum
  22
  23

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                               EXHIBIT 1
Case 3:21-cv-01458-JLS-DEB Document 6 Filed 10/05/21 PageID.104 Page 18 of 54
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    1   WO
    2
    3
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    5
    6                         IN THE UNITED STATES DISTRICT COURT
    7                              FOR THE DISTRICT OF ARIZONA
    8
    9   Fernando Gastelum,                                No. CV-18-01271-PHX-DGC
   IO                 Plaintiff,                          ORDER
   11   V.

   12   Pacific Heritage Inn of Chandler LLC,
   13                 Defendant.
   14
   15
   16           Defendant Pacific Heritage Inn of Chandler LLC ("Defendant") has filed a motion
   17   to dismiss Plaintiff Fernando Gastelum's complaint (Doc. I) for lack of subject matter
   18   jurisdiction. Doc. 10. The motion is fully briefed, and oral argument will not aid the
   19   Court's decision. Fed. R. Civ. P. 78(b). For the reasons that follow, the Court will deny
   20   the motion.
   21   I.      Background.
   22           Plaintiff is an amputee who requires the use of a wheelchair or prosthetic leg.
   23   Doc. 1 at 1   ,r 2.   On April 23, 2018, Plaintiff visited a third-party booking website,
   24   expedia.com, and Defendant's website, staybridge.com, to book a hotel room at
   25   Staybridge Suites Phoenix-Chandler, a hotel owned by Defendant. Id. at 6 ,r 26, IO         ,r 31.
   26   Neither website described accessibility features at the hotel in sufficient detail to permit
   27   Plaintiff to detennine whether the hotel met his accessibility needs. Id. at 7 ,r 30, 11   ,r 34.
   28   Plaintiff called Defendant's hotel and spoke with a reservation clerk who assured him
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    I   that the hotel was compliant with the Americans with Disabilities Act ("ADA"). Id. at 14
    2   'l]'l] 35-37. Plaintiff subsequently visited the hotel "to independently verify that it was, at
    3   least on the outside, suitable to accommodate his disability." Id. at 'I] 38. He discovered
    4   that the hotel was "replete with accessibility barriers" that prevented him from accessing
    5   the hotel, and he declined to book a room. Id. at 14-15 'l]'I] 39-40.
    6          On April 25, 2018, Plaintiff filed a complaint against Defendant, alleging
    7   discrimination in violation of the ADA, 42 U.S.C. § 12101 et seq., and four Arizona tort
    8   claims. Doc. I.      Defendant moves to dismiss, arguing that Plaintiff lacks Article III
    9   standing. Doc. 10.
   10   II.    Standing Principles and Approach.
   11          "A suit brought by a plaintiff without Article III standing is not a 'case or
   12   controversy,' and an Article III federal court therefore lacks subject matter jurisdiction
   13   over the suit." See Cetacean Cmty. v. Bush, 386 F .3d 1169, 1174 (9th Cir. 2004) (citing
   14   Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 101 (1998)). Because standing is a
   15   jurisdictional question, it is properly addressed under Rule 12(b)(l).          Id.; see also
   16   Kingman ReefAtoll Inv., L.L.C. v. United States, 541 F.3d 1189, 1195 (9th Cir. 2008).
   17          A motion to dismiss under Rule l 2(b )(I) can be either a facial or factual attack on
   18   jurisdiction. Thornhill Pub/'g Co. v. Gen. Tel. & Elec. Corp., 594 F.2d 730, 733 (9th
   19   Cir. 1979). A facial attack asserts that the allegations in the complaint are "insufficient
   20   on their face to invoke federal jurisdiction."       Safe Air for Everyone v. Meyer, 373
   21   F.3d 1035, 1039 (9th Cir. 2004). A factual attack "disputes the truth of the allegations
   22   that, by themselves, would otherwise invoke federal jurisdiction." Id.
   23          In a facial attack, the complaint's allegations are taken as true and construed in
   24   favor of the non-moving party. Jacobsen v. Katzer, 609 F. Supp. 2d 925, 930 (N.D.
   25   Cal. 2009) (citing Fed'n of African Am. Contractors v. City of Oakland, 96
   26   F.3d 1204, 1207 (9th Cir. 1996)). In a factual attack, the plaintiff's allegations are not
   27   entitled to a presumption of truthfulness, the court may look beyond the pleadings, and
   28   the plaintiff has the burden of proving jurisdiction. Safe Air for Everyone, 373 F.3d


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    I   at 1039. The plaintiff must "present affidavits or any other evidence necessary to satisfy
    2   its burden[.]" St. Clair v. Cil)l of Chino, 880 F.2d 199,201 (9th Cir. 1989).
    3          Defendant does not specify the basis of its motion to dismiss, but its arguments
    4   focus on the allegations of the complaint. Defendant asserts that the "[c ]omplaint makes
    5   clear that Plaintiff did not book a room at the subject hotel, has never visited the hotel
    6   previously, and has no intention to return," and that Plaintiff consequently "has not
    7   demonstrated any real threat of repeated injury or been injured-in-fact." Doc. 10 at 2.
    8   Defendant presents no extrinsic evidence. As a result, the Court will treat this as a facial
    9   attack and presume that the complaint's allegations are true. 1
   IO   III.   Analysis.
   11          A.     Collateral Estoppel.
   12          Defendant argues that Plaintiff is collaterally estopped from relitigating his lack of
   13   Article III standing. Doc. 10 at 2. In a recent order, Judge Murray Snow of this court
   14   dismissed for lack of standing eleven cases filed by Plaintiff against other defendant-
   15   hotels for alleged ADA violations. Gastelum v. Canyon Hospitalil)l LLC, No. CV-17-
   16   02792-PHX-GMS, 2018 WL 2388047, at *1-2, 10 (D. Ariz. May 25, 2018). 2 Because
   17   the eleven cases involved "substantially similar, boilerplate complaints" filed by Plaintiff,
   18   Judge Snow found that the issue of standing affected all eleven cases. Id. at *2-3. Judge
   19   Snow held two evidentiary hearings at which Plaintiff testified. Id. at *2. Based on those
  20
  21
               1
  22             Defendant argues that Plaintiff is collaterally estopped from asserting Article III
        standing because of a prior decision in Gastelum v. Canyon Hospitality LLC, No.
  23    CV-17-02792-PHX-GMS, 2018 WL 2388047 (D. Ariz. May 25, 2018). See Doc. 10 at 2.
        Reliance on the legal principle of collateral estoppel is not the same as presenting
  24    extrinsic evidence and seeking a factual determination. In response to Defendant's
        motion, Plaintiff presents a declaration, a copy of the transcript from the evidentiary
  25    hearing held in Canyon Hospitality LLC, and a hotel reservation confirmation. See
        Docs. 11-2, 11-3, 11-6. These exhibits do not convert this jurisdictional challenge into a
  26    factual attack because, as Safe Air for Everyone makes clear, a challenge is factual if "the
        moving party" has presented affid'avits or other evidence. 373 F.3d at 1039. The Court
  27    has not considered Plaintiffs factual submissions.
               2
  28             One of those dismissed cases involved a hotel owned by Defendant. See Doc. 10
        at 2, 5-6, 8; Canyon Hospitality LLC, 2018 WL 2388047, at *10 (orderingthe dismissal
        of Gastelum v. Hilton Garden Inns Management LLC, No. CV-18-00820-PHX-GMS).

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    1   hearings and evidence outside the pleadings, Judge Snow found that Plaintiff lacked ( 1) a
    2   concrete and particularized hann and (2) a likely injury in the future. Id. at *6-10.
    3          The complaint in this case is substantially similar to the boilerplate complaints in
    4   Canyon Hospitality LLC, and Defendant contends that this Court should give preclusive
    5   effect to Judge Snow's order. Doc. 10 at 2, 6-8. Plaintiff counters that collateral estoppel
    6   does not apply because this is "a completely different case relating to a completely
    7   different hotel with different factual allegations[.]" Doc. 11 at I. He argues that Canyon
    8   Hospitality LLC relied on a fmding that Plaintiff did not intend to return to those hotels
    9   and that this finding says nothing about Plaintiffs intent to return to the hotel at issue
   10   here. Id. at 3.
   11          Collateral estoppel, also known as issue preclusion, "bars 'successive litigation of
   12   an issue of fact or law actually litigated and resolved in a valid court determination
   13   essential to the prior judgment."'     ReadyLink Healthcare, Inc. v. State Comp. Ins.
   14   Fund, 754 F.3d 754, 760 (9th Cir. 2014) (quoting Taylor v. Sturgell, 553 U.S. 880, 892
   15   (2008)).     The doctrine "applies only when the issues presented in each matter are
   16   identical.   The doctrine is inapplicable if the issues are merely similar."       Fund for
   17   Animals, Inc. v. Lujan, 962 F.2d 1391, 1399 (9th Cir. 1992). In South Delta Water
   18   Agency v. United States, 767 F.2d 531, 538-39 (9th Cir. 1985), the defendants attempted
   19   to use a 1963 Supreme Court case, which held that the operation of a dam conformed to
  20    statutory requirements, to estop the plaintiffs from challenging the present operation of
  21    the dam. The Ninth Circuit held that collateral estoppel did not apply because the current
  22    operation of the dam differed from the 1963 operation. Id. Different factual settings
  23    render collateral estoppel inapplicable. See also Bernstein v. Bankert, 733 F.3d 190, 225-
  24    26 (7th Cir. 2013) (holding that a judgment for an insurer on pollution coverage at one
  25    site did not collaterally estop another action for pollution coverage at a different site
  26    because the two cases "necessarily depend on different sets of facts"); I 8 Charles Alan
  27    Wright, Arthur R. Miller, & Edward H. Cooper, Federal Practice and Procedure § 4425
  28


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    I   (3d ed. 1998) (it would be inappropriate to apply issue preclusion to "[t]wo entirely
    2   unrelated accidents involving the same parties").
    3            To be sure, the complaint in this case is similar to the complaints at issue in
    4   Canyon Hospitality LLC. Plaintiff alleges the same claims under the ADA and state law,
    5   and details the same process by which he discovered the alleged violations: he first
    6   reviewed a third-party booking website and then the Defendant's own website; he next
    7   called the hotel to inquire about its ADA accessibility; and he then visited the hotel to
    8   ascertain whether it was ADA compliant. Compare Doc. I, with Canyon Hospitality
    9   LLC, 2018 WL 2388047, at *1-2. As in the Canyon Hospitality LLC complaints, Plaintiff
   IO   alleges that he declined to book a room due to the ADA violations he noted during his
   11   visit.   Id. at 15 "if 40.   Plaintiff likewise avows that he "intends to book a room at
   12   Defendant's hotel once Defendant has removed all accessibility barriers." Id. at 4 "if 16.
   13   Other than naming a different hotel and different ADA violations, the complaint is
   14   virtually the same as the complaints in Canyon Hospitality LLC.
   15            Despite this similarity, this case involves a different set of facts. Plaintiff is suing
   16   a different hotel for different ADA violations, and the relevant standing issue is whether
   17   his complaint sufficiently alleges an intent to return to Defendant's hotel, not another
   I8   hotel at issue in another case. District courts are to make "case-by-case determinations"
   19   of a plaintiffs injury-in-fact. Civil Rights Educ. & Enforcement Center v. Hospitality
   20   Props. Trust, 867 F .3d 1093, 1100 (9th Cir. 2017) (hereinafter CREEC); see also D 'Lil v.
   21   Best W. Encina Lodge & Suites, 538 F.3d 1031, 1040 (9th Cir. 2008) (noting that whether
   22   a plaintiff visited the hotels she previously sued "says little about her intent to visit" the
   23   hotel currently being sued). Judge Snow made factual findings regarding the cases before
   24   him. Because this case involves different facts, collateral estoppel does not apply.
   25            B.     Res Judicata.
   26            Defendant also contends that the doctrine of res judicata precludes Plaintiff from
   27   relitigating his standing in this case. Doc. IO at 8 n.6. Res judicata, or claim preclusion,
   28   "applies when there is (I) an identity of claims; (2) a final judgment on the merits;


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    1   and (3) identity or privity between the parties." Garity v. APWU Nat'! Labor Org., 828
    2   F.3d 848, 855 (9th Cir. 2016) (citation and quotation marks omitted). The first two of
    3   these requirements are missing. There is no identity of claims - Plaintiff sues over
    4   alleged ADA violations at an entirely different hotel.      And there has been no final
    5   judgment on the merits in Judge Snow's cases. The Ninth Circuit has held that "a
    6   dismissal for want of personal jurisdiction is not a judgment 'on the merits' for the
    7   purposes ofresjudicata." Ruiz v. Snohomish Cnty. Pub. Util. Dist. No. I, 824 F.3d 1161,
    8   1164 (9th Cir. 2016) (emphasis in original). This reasoning extends to dismissals for lack
    9   of subject matter jurisdiction. See Fed. R. Civ. P. 41(b) ("Unless the dismissal order
   10   states otherwise, a dismissal ... except one for lack ofjurisdiction, improper venue, or
   11   failure to join a party under Rule 19[,] operates as an adjudication on the merits.")
   12   (emphasis added); see also Hochendoner v. Genzyme Corp., 823 F.3d 724, 736 (1st Cir.
   13   2016) ("[A] dismissal for lack of subject matter jurisdiction normally operates without
   14   prejudice.   This approach makes eminently good sense since a want of jurisdiction
   15   deprives a court of the authority to enter a judgment on the merits[.] Courts routinely
   16   apply this principle to dismissals for lack of Article III standing.") (citations omitted).
   17   Res judicata does not apply.
   18          C.    Standing.
   19          Defendant relies entirely on collateral estoppel and res judicata. It makes no other
   20   argument, presents no factual materials, and has requested no factual determination. See
   21   Docs. 10, 13.         But because federal courts are required sua sponte to examine
   22   jurisdictional issues such as standing, Chapman v. Pier I Imports (U.S.) Inc., 631 F.3d
   23   939, 954 (9th Cir. 2011), the Court will determine whether Plaintiff's pleadings are
   24   facially defective.
   25          Standing requires (1) an injury-in-fact, (2) causation between the injury and the
   26   allegedly wrongful conduct, and (3) that the injury is likely to be redressed by a favorable
   27   decision from the court. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).
   28   Where a case is at the pleading stage, the plaintiff must allege facts demonstrating each


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    I   element.   CREEC, 867 FJd at 1099.          An injury-in-fact must be "(a) concrete and
   2    particularized, and (b) actual or imminent, not conjectural or hypothetical." Lujan, 504
   3    U.S. at 560 (internal quotations and citations omitted). "[A] party seeking review must
   4    allege facts showing that he is himself adversely affected." Sierra Club v. Morton, 405
   5    U.S. 727, 740 (1972). There must be '"continuing, present adverse effects' stemming
    6   from the defendant's actions." CREEC, 867 F.3d at 1098 (quoting City ofLos Angeles v.
    7   Lyons, 461 U.S. 95, 102 (1983)).
    8         Under the ADA, "[n]o individual shall be discriminated against on the basis of
    9   disability in the full and equal enjoyment of the goods, services, [or] facilities ... of any
   10   place of public accommodation[.]" 42 U.S.C. § 12182(a). Hotels are places of public
   11   accommodation, id. at § 12181(7)(A), and Plaintiff has a disability as defined under the
   12   ADA, id. at § 12102. Plaintiff sufficiently alleges that the ADA violations caused his
   13   injury, and the injury is likely to be redressed by a favorable decision from the Court.
   14   The Court therefore will address only whether Plaintiff has alleged an injury-in-fact.
   15                 1.     Actual or Imminent Injury.
   16          An injury is "actual" if a person who is disabled "is currently deterred from
   17   patronizing a public accommodation due to a defendant's failure to comply with the
   18   ADA[.]" Pickern v. Holiday Quality Foods Inc., 293 F.3d 1133, 1138 (9th Cir. 2002);
   19   see also Doran v. 7-Eleven, Inc., 524 F.3d 1034, 1041 (9th Cir. 2008) ("Allegations that a
   20   plaintiff has visited a public accommodation on a prior occasion and is currently deterred
   21   from visiting that accommodation by accessibility barriers establish that a plaintiffs
   22   injury is actual or imminent."). In CREEC, the Ninth Circuit clarified that a plaintiff
   23   need not personally encounter the barriers or personally visit the hotel. Injury arises from
   24   "the plaintiffs 'actual knowledge' of a barrier, rather than the source of that knowledge."
   25   CREEC, 867 FJd at 1099.
   26          Plaintiff alleges that he "visited the [Defendant's] hotel to independently verify
   27   that it was ... suitable to accommodate his disability." Doc. I at 14 'I[ 38. During his
   28   visit, he "noted that the hotel was not compliant with the ADA," and his complaint lists


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    I   twelve specific accessibility barriers that he observed. Id. at 14-15 ,i 39. Plaintiff alleges
   2    that, "[a]s a result of [these] deficiencies," he "declined to book a room at the hotel." Id.
   3    at 15 ,i 40. He further alleges that "he is deterred from visiting [this] accommodation by
   4    accessibility barriers and other violations of the ADA." Id. at 4 ,i 17. These allegations,
   5    which must be assumed true in this facial evaluation of jurisdiction, sufficiently assert
    6   that Plaintiffs injury is actual or imminent. 3
    7                 2.      Likelihood of Future Injury.
    8          Because Plaintiff seeks injunctive relief, he must also show that he is "likely to
    9   suffer future injury." Lyons, 461 U.S. at 105. In Chapman, the Ninth Circuit discussed
   10   two ways a plaintiff could demonstrate a likelihood of future harm. 631 F.3d at 948-50.
   11   First, the plaintiff could show "an intent to return to a noncompliant accommodation," in
   12   which event he would be "likely to reencounter a discriminatory architectural barrier."
   13   Id. at 948-50; see also D 'Lil, 538 F.3d at 1037. Alternatively, a plaintiff can show that
   14   "he is deterred from visiting a noncompliant public accommodation because he has
   15   encountered barriers related to his disability there." Chapman, 63 I F .3d at 949. In
   16   CREEC, the Ninth Circuit found a sufficiently alleged injury to pursue injunctive relief
   17   under this "deterrent effect doctrine" because the plaintiffs alleged "they intend to visit
   18   the relevant hotels, but have been deterred from doing so by the hotels' noncompliance
   19   with the ADA." 867 F.3d at 1099.
   20          Plaintiff alleges continuing adverse effects under both theories. He asserts that he
   21   "intends to book a room at the Defendant's hotel once Defendant has removed all the
   22   accessibility barriers ... and has fully complied with the ADA." Doc. 1 at 4 ,i 16. And
   23   he alleges that he is "deterred from visiting that accommodation" due to "accessibility
   24   barriers and other violations of the ADA." Id. at 4 ,i 17. Taking the allegations of the
   25
   26          3
                 Plaintiff also alleges injury from specific features at Defendant's hotel. He
        alleges that "he moves with the aid of a wheelchair or a prosthetic leg," and that "[ait
   27   least one accessible route [withl a surface that is cross sloped steeper than I :48 inches. '
        Doc. I at I ,i 2, 15 ,i 39(i). This alleged ADA violation appears related to Plaintiffs
   28   mobility issues and proviaes factual support for his claim that he is deterred from using
        Defendant's hotel. Plaintiff has alleged a concrete and particularized injury.

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    1   complaint as true and construing them in Plaintiffs favor, the Court concludes that he has
    2   sufficiently alleged a likelihood of future injury. 4
    3          IT IS ORDERED that Defendant's motion to dismiss (Doc. 10) is denied.
    4          Dated this !Ith day of July, 2018.
    5
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    8
                                                               David G. Campbell
    9                                                       United States District Judge

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                 In Canyon Hospitality LLC, Judge Snow did not find a real and immediate threat
  27    of repeated injury because Plaintiff failed to show that "he would otherwise visit [the
        hotels] in the course of his regular activities." 2018 WL 2388047, at *6-8. Tliese
  28    conclusions were based on ev1dentiary hearings, not pleadings. The Court's facial
        analysis of standing is limited to the pleadings.


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                              EXHIBIT 2
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918121, 1:43 PM                                                    Gmail - Notice of Motion and Motion for Rule 11 Sanctions




  M Gmail                                                                                         Fernando Gastelum <fernandog8899@gmail.com>



  Notice of Motion and Motion for Rule 11 Sanctions
  1 message

  Philip H. Stillman <pstillman@stillmanassociates.com>                                                                           Wed, Sep 8, 2021 at 9:40 AM
  To: Fernando Gastelum <fernandog8899@gmail.com>


    As you know, I represent defendant TC HERITAGE INN 2 OF BAKERSFIELD LLC. Attached hereto is a
    Notice of Motion and Motion for Rule 11 Sanctions. Pursuant to Fed.R.Civ.P. 11, you are entitled to 21 days'
    notice before a party can file a Motion for Sanctions, which you are being given today. If you do not
    withdraw your frivolous and false complaint, my client will file the attached motion, and seek all of its
    attorney's fees incurred in defending this frivolous action.



    Remember this email. I intend to get your complaint dismissed, require you to post a bond in the unlikely
    event that it is not dismissed with prejudice, and my client will seek all of its attorney's fees from you. I think
    that your litigation history from the Arizona federal courts speaks for itself, but my client will also seek to
    have you declared a vexatious litigant, which will require you to obtain prior permission from the presiding
    judge before you file a complaint. At this time, my client will accept an immediate dismissal with prejudice,
    and you may go about your business against other defendants. If not, I will be filing a motion to dismiss
    based on Gastelum v. Canyon Hospitality, LLC, which others whom you have sued will be able to access
    and use to get your complaints dismissed against them with little cost to them, which will further impede
    your new business venture in California.



    I strongly encourage you to take this matter seriously.



    Philip H. Stillman I STILLMAN • ASSOCIATES
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                              EXHIBIT 3
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 5
 6
                                  UNITED STATES DISTRICT COURT FOR THE
 7                                   EASTERN DISTRICT OF CALIFORNIA
 8
                                                          Case No. 2:21-cv-01481-KJM-JDP
 9 FERNANDO GAS I ELUM, an md1v1dual,
10 v.                  Plaintiff,                         NOTICE OF MOTION AND MOTION
                                                          FOR RULE 11 SANCTIONS
11
12 LL SACRAMENTO, L.P. dba Larkspur
   Landing Sacramento,
                                                          Date:
                                                          Time:      10 a.m.
13                                                        Courtroom: 3, 15 th Fl.
                       Defendant.
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28    TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:
      Notice of Motion and Motion for Rule 11 Sanctions
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 1            PLEASE TAKE NOTICE THAT on - - - -, or as soon thereafter as the matter
2    may be heard in the above-entitled court, LL Sacramento, L.P. ("Defendant") will and
3    hereby does move the Court for an Order imposing sanctions for
4    filing a frivolous Complaint. This motion is brought on the following grounds:
5             1.       Plaintiff Fernando Gastelum, a resident of Arizona, is a veteran vexatious
6    litigant in the Arizona courts who has expanded his ambitions to ADA tourism in
7    California, hoping to cash in on the Unruh Act "gold rush." Formerly represented by Peter
 8    Strojnik, a disbarred lawyer who was himself declared a vexatious litigant in the California
 9    state courts and the Northern and Central Districts of California (with a motion pending in
10    the Southern District), Gastelum is now striking out on his own by filing in excess of
11    thirteen frivolous complaints against hotels and businesses in Bakersfield and San Diego
12    that are based on abject falsehoods to this Court. This is not news. See Gastelum v.
13    Canyon Hosp. LLC, No. CV-17-02792-PHX-GMS, 2018 U.S. Dist. LEXIS 87850, at
14    *13-14 (D. Ariz. May 25, 2018), where the Court held:
15            Based upon the above facts the Court concludes that Mr. Gastelum and his
              counsel Mr. Strojnik are engaged in a joint enterprise in which they are filing
16            multiple suits against any Phoenix area lodgings ... without reference to
             .whetlier Mr. Gastelum actually had any intent to make future visits to those
17            facilities for reasons not related to his pursuit of ADA claims against them.
              Given the facts of this case Mr. Gastelum has failed to establisli that he would
18            have any likelihood of revisiting these facilities except to the extent it would
              be deemed necessary for him to do so to bring suit against each of the
19            Defendants.
20            2.        Although in pro per, Gastelum filed over 133 complaints in Arizona, and
21    clearly knows the requirements to properly plead a claim against a defendant. See Canyon
22    Hospitality, supra. He also clearly knows about the requirements to establish standing. Id.
23    He has not done so.
24             3.       He also knows that it is not suggested but required to plead facts in his
25    complaints that are the truth, i.e., not fabrications. He has not done so in this case, and
26    provably so.
27
28             4.       Rule 11 (b) states that "By presenting to the court a pleading, written motion,

      Notice of Motion and Motion for Rule l l Sanctions   -1-
     Case 3:21-cv-01458-JLS-DEB Document 6 Filed 10/05/21 PageID.118 Page 32 of 54




 I    or other paper-whether by signing, filing, submitting, or later advocating it-an attorney
2 or unrepresented party certifies that to the best of the person's knowledge, information, and
3     belief, formed after an inquiry reasonable under the circumstances:
4             (1) it is not being presented for any improper purpose, such as to harass, cause
              unnecessary delay or needlessly increase the cost oflitigation;
5              2) the claims, defenses, and other legal contentions are warranted by existing
 6
              faw or by a nonfrivolous argument for extending, modifying, or reversing
              existing_ law or for establislimg new law;
              (3) the factual contentions have evidentiary support or, if specifically so
7             identified, ~ill lil~ely_ have e~identiary support after a reasonable opportunity
              for further mvestigat10n or discovery; ...
 8
              5.       By filing the Complaint that Gastelum knows is improper as a matter of law,
 9
      Gastelum has violated Rule 1 l(b) and his CQmpJaintis_fri11_olous_as_a_matter-0Llaw-and-
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      totally without merit. Accordingly, sanctions against Gastelum are required to curtail this
11
      frivolous and harassing conduct.
12
              This motion is based on this Notice of Motion and Motion, the Memorandum of
13
      Points and Authorities filed herewith, the Declaration of Philip H. Stillman, the pleadings
14
      and papers on file herein, and upon such other matters as may be presented to the Court at
15
      the time of the hearing, if any.
16
              WHEREFORE, defendant respectfully requests that this Court impose sanctions on
17
      Plaintiff pursuant to Rule 11, in an amount to be determined by this Court but no less than
18
      $6,500.
19
                                                          Respectfully Submitted,
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                                                          STILLMAN & ASSOCIATES
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22
                                                                111-f /tc1:z _ _ _
      Dated: September 26, 2021                           By:
23                                                           --rpn::fi~irr:cip=--tt•.•sTit""i[TC[m=an=-,•ECTs=q"'.
                                                          Attorneys for defendant
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      Notice of Motion and Motion for Rule 11 Sanctions               -1-
     Case 3:21-cv-01458-JLS-DEB Document 6 Filed 10/05/21 PageID.119 Page 33 of 54




 1                                                        PROOF OF SERVICE
 2              I, the undersigned, certify under penalty of perjury that on September 26, 2021 or as
 3    soon as possible thereafter, copies of the foregoing Notice of Motion and Motion, the
 4    Memorandum of Points and Authorities filed was served electronically via email to
 5    Plaintiffs email address listed with this Court.
 6                                                          By: /s/ Philip H Stillman
                                                            Attorneys for DEFENDANT
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      Notice of Motion and Motion for Rule 11 Sanctions           -2-
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                              EXHIBIT 4
        Case 3:21-cv-01458-JLS-DEB Document 6 Filed 10/05/21 PageID.121 Page 35 of 54




    1 Philip H. Stillman" Esq. SBN# 152861
      STIL"LMAN & A;:,SOCIATES
    2 3015 North Bay Road, Suite B
      Miami Beach, Florida 33140
    3 Tel. and Fax: (888) 235-4279
      pstillman@stillmanassociates.com
    4
      Attorneys for defendant LL SACRAMENTO, L.P.
    5
    6
                                    UNITED STATES DISTRICT COURT FOR THE
    7                                  EASTERN DISTRICT OF CALIFORNIA
    8
                                                           Case No. 2:21-cv-01481-KJM-JDP
    9    FERNANDO GASTELUM, an md1v1dual,
10                                           Plaintiff,    NOTICE OF MOTION AND MOTION
         v.                                                FOR RULE 11 SANCTIONS
11
12       LL SACRAMENTO, L.P. dba Larkspur                  Date:
         Landing Sacramento,                               Time:      10 a.m.
13                                                         Courtroom: 3, 15 th FL
                                             Defendant.
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    8   TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:
        Notice ofMotion and Motion for Rule 11 Sanctions
     Case 3:21-cv-01458-JLS-DEB Document 6 Filed 10/05/21 PageID.122 Page 36 of 54




1         PLEASE TAKE NOTICE THAT on - - - -, or as soon thereafter as the matter
2    may be heard in the above-entitled court, LL Sacramento, LP. ("Defendant") will and
3    hereby does move the Court for an Order imposing sanctions for
4    filing a frivolous Complaint. This motion is brought on the following grounds:
5             I.       Plaintiff Fernando Gastelum, a resident of Arizona, is a veteran vexatious
6    litigant in the Arizona courts who has expanded his ambitions to ADA tourism in
7    California, hoping to cash in on the Unruh Act "gold rush." Formerly represented by Peter
8    Strojnik, a disbarred lawyer who was himself declared a vexatious litigant in the California
 9   state courts and the Northern and Central Districts of California (with a motion pending in
10   the Southern District), Gastelum is now striking out on his own by filing in excess of
11   thirteen frivolous complaints against hotels and businesses in Bakersfield and San Diego
12   that are based on abject falsehoods to this Court. This is not news. See Gastelum v.
13    Canyon Hosp. LLC, No. CV-17-02792-PHX-GMS, 2018 U.S. Dist. LEXIS 87850, at
14    *13-14 (D. Ariz. May 25, 2018), where the Court held:
15            Based upon the above facts the Court concludes that Mr. Gastelum and his
              counsel Mr. Strojnik are engaged in a joint enterprise in which they are filing
16            multiple suits against any Phoenix area lodgings ... without reference to
              whetlier Mr. Gastelum actually had any intent to make future visits to those
17            facilities for reasons not related to his pursuit of ADA claims against them.
              Given the facts of this case Mr. Gastelum has failed to establisfi that he would
18            have any likelihood of revisiting these facilities except to the extent it would
              be deemed necessary for him to do so to bring suit against each of the
19            Defendants.
20            2.        Although in pro per, Gastelum filed over 133 complaints in Arizona, and
21    clearly knows the requirements to properly plead a claim against a defendant. See Canyon
22    Hospitality, supra. He also clearly knows about the requirements to establish standing. Id.
23    He has not done so.
24             3.       He also knows that it is not suggested but required to plead facts in his
25    complaints that are the truth, i.e., not fabrications. He has not done so in this case, and
26    provably so.
27
28             4.       Rule 11 (b) states that "By presenting to the court a pleading, written motion,

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     Case 3:21-cv-01458-JLS-DEB Document 6 Filed 10/05/21 PageID.123 Page 37 of 54




 1 or other paper-whether by signing, filing, submitting, or later advocating it-an attorney
2 or unrepresented party certifies that to the best of the person's knowledge, information, and
3     belief, formed after an inquiry reasonable under the circumstances:
4             (1) it is not being presented for any improper purpose, such as to harass, cause
              unnecessary delay, or needlessly increase the cost of litigation;
5              2) the claims, defenses, and otlier legal contentions are warranted by existing
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              faw or by a nonfrivolous argument for extending, modifying, or reversing
              existing law or for establislimg new law;
              (3) the Tactual contentions have evidentiary support or, if specifically so
 7            identified, will likely have evidentiary support after a reasonable opportunity
              for further investigation or discovery; ...
 8
              5.        By filing the Complaint that Gastelum knows is improper as a matter oflaw,
 9
      Gastelum has violated Rule 11 (b) and his Complaint is frivolous as a matter of law and
10
      totally without merit. Accordingly, sanctions against Gastelum are required to curtail this
11
      frivolous and harassing conduct.
12
              This motion is based on this Notice of Motion and Motion, the Memorandum of
13
      Points and Authorities filed herewith, the Declaration of Philip H. Stillman, the pleadings
14
      and papers on file herein, and upon such other matters as may be presented to the Court at
15
      the time of the hearing, if any.
16
              WHEREFORE, defendant respectfully requests that this Court impose sanctions on
17
      Plaintiff pursuant to Rule 11, in an amount to be determined by this Court but no less than
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      $6,500.
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                                                           Respectfully Submitted,
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                                                           STILLMAN & ASSOCIATES
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22                                                               //?'-17 //ffJ:::2. --..
      Dated: September 26, 2021                            By:
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                                                           Attorneys for defendant
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      Notice of Motion and Motion for Rule l 1 Sanctions            -1-
     Case 3:21-cv-01458-JLS-DEB Document 6 Filed 10/05/21 PageID.124 Page 38 of 54




 1                                                        PROOF OF SERVICE
 2             I, the undersigned, certify under penalty of perjury that on September 26, 2021 or as
 3    soon as possible thereafter, copies of the foregoing Notice of Motion and Motion, the
 4    Memorandum of Points and Authorities filed was served electronically via email to
 5    Plaintiffs email address listed with this Court.
 6                                                          By: /s/ Philip H. Stillman
                                                            Attorneys for DEFENDANT
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      Notice of Motion and Motion for Rule 11 Sanctions          -2-
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                              EXHIBIT 5
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 8                               UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
10
11         PETER STROJNIK, SR.                              Case No.: 3:19-cv-1991-LAB (JLB)
12                                         Plaintiff,
                                                            ORDER:
13         V.

14         1315 ORANGE AVE LLC                              (1) GRANTING IN PART AND
                                                            DENYING IN PART
15                                     Defendant.           DEFENDANT'S MOTION TO
16                                                          DECLARE PLAINTIFF A
                                                            VEXATIOUS LITIGANT AND
17                                                          IMPOSE PRE-FILING
18                                                          RESTRICTIONS; AND
19                                                          (2) GRANTING DEFENDANT'S
20                                                          REQUEST FOR ATTORNEY'S
                                                            FEES.
21
22              On October 16, 2019, prose plaintiff Peter Strojnik, Sr. ("Strojnik") filed this
23       case against 1315 Orange Ave, LLC ("Defendant"), the owner and operator of La
24       Avenida Hotel in Coronado ("La Avenida"), alleging claims under the Americans
25       with Disabilities Act ("ADA"), 42 U.S.C. § 12101 et seq., and related state laws.
26       Strojnik's original complaint was dismissed without prejudice for failure to invoke
27       the Court's jurisdiction. He then filed an amended complaint but failed to serve the
28       proper entity, and took virtually no steps to prosecute the case. The Court ordered

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                                                                              3:19-cv-1991-LAB (JLB)
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 1 Strojnik to show cause why this action shouldn't be dismissed without prejudice,
 2     but he once again did nothing. The case was dismissed on June 4, 2020.
 3             Now before the Court is Defendant's motion to declare Strojnik a vexatious
4      litigant subject to a pre-filing order for all future cases brought in the Southern
 5     District of California ("Motion"). For the reasons discussed herein, the Court
 6     GRANTS IN PART AND DENIES IN PART Defendant's motion to declare Plainti
 7     a vexatious litigant and impose a pre-filing order on him, and GRANTS
 8     Defendant's request for attorney's fees. The Court enters a pre-filing order
 9     requiring that any future disability access complaints filed by Strojnik in the
10     Southern District of California be reviewed by the Court prior to service of the
11     summons and complaint.
12        I.     REQUEST FOR JUDICIAL NOTICE
13             Pursuant to Federal Rule of Evidence 201, a court "may judicially notice a
14     fact that is not subject to reasonable dispute because it: (1) is generally known
15     within the trial court's territorial jurisdiction; or (2) can be accurately and readily
16     determined from sources whose accuracy cannot reasonably be questioned." Fed.
17     R. Evid. 201 (b). A court may take judicial notice of matters of public record if those
18     facts are not subject to reasonable dispute. Lee v. City of Los Angeles, 250 F.3d
19     668, 688-89 (9th Cir. 2001) (citing Mack v. S. Bay Beer Distrib., 798 F.2d 1279,
20     1282 (9th Cir. 1986)), overruled on other grounds by Galbraith v. Cty. of Santa
21     Clara, 307 F.3d 1119 (9th Cir. 2002).
22             Judicial notice is particularly appropriate for court records in a prior case and
23     litigation related to the case before the court. United States ex rel. Robinson
24     Rancheria Citizens Council v. Borneo, Inc., 971 F.2d 244, 248 (9th Cir. 1992)
25     (holding that a court may take judicial notice of "proceedings in other courts, both
26     within and without the federal judicial system, if those proceedings have a direct
27     relation to matters at issue") (citation omitted); Disabled Rights Action Comm. v.
28     Las Vegas Events, Inc., 375 F.3d 861, 866 n.1 (9th Cir. 2004) ("[W]e may take

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                                                                             3:19-cv-1991-LAB (JLB)
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1 judicial notice of the records of state agencies and other undisputed matters o
2     public record."). However, although the Court "may take judicial notice of the
3     existence of unrelated court documents ... it will not take judicial notice of such
4     documents for the truth of the matter asserted therein." In re Bare Escentuals, Inc.
5     Sec. Lit., 745 F. Supp. 2d 1052, 1067 (N.D. Cal. 2010).
6                A. Defendant's Exhibits 1-6
7           In support of its Motion, Defendant filed a request for judicial notice ("RJN")
8      related to the following six documents:
9           •    Exhibit 1: State of Arizona's Motion to Intervene in Gastelum v. Canyon
10               Hospital, LLC, Case No. 18-16032 (9th Cir. June 22, 2018);
11          •    Exhibit 2: State of Arizona's Motion to Intervene in Advocates to
12               Individuals with Disabilities v. MidFirst Bank, Case No. 2:16-cv-01969-
13               PHX-NVW, Dkt. 7-1 (Dec. 7, 2017);
14           •   Exhibit 3: State Bar of Arizona's Complaint against Peter Strojnik, Case
15               No. PDJ 2018-9105 (Nov. 16, 2018);
16           •   Exhibit 4: Peter Strojnik's Consent to Disbarment in the State of Arizona,
17               Case No. PDJ 2018-9105 (May 8, 2019);
18           •   Exhibit 5: State Bar of Arizona's Judgment of Disbarment, Case No. PDJ
19               2018-9105 (May 10, 2019); and
20           •   Exhibit 6: Plaintiff's Response to Court's Questions 1-4, in Strojnik v. IA
21               Lodging Napa First LLC, Case No. 4: 19-cv-03983, 0kt. 56, 56-1
22               (March 21, 2020) 1 .
23           All of the documents submitted by Defendant are properly subject to judicial
24     notice. Exhibits 1-6 all contain matters of public record, including documents filed
25
26
27     1Although Defendant's RJN specifically requests that this Court take judicial notice
       of Exhibits 1-5 (Dkt. 15-3 at 2-3), Defendant also attaches, refers to, and relies
28     on Exhibit 6 to the RJN. The Court interprets the RJN as including Exhibit 6.

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 1 in other federal courts or records derived from proceedings held by state agencies,
2     that are relevant to the issues addressed in this order.
 3               B. Defendant's Spreadsheet
4           A court also "may take judicial notice on its own" of any "fact that is not
 5    subject to reasonable dispute because it . . . can be accurately and readily
 6    determined from sources whose accuracy cannot reasonably be questioned." Fed.
 7     R. Evid. 201 (b)-(c). This includes "proceedings in other courts . . . if those
 8     proceedings have a direct relation to matters at issue." Bennett v. Medtronic, Inc.,
 9     285 F.3d 801, 803 n.2 (9th Cir. 2002) (quoting United States ex rel. Robinson
10     Rancheria Citizens Council v. Borneo, 971 F.2d 244, 248 (9th Cir.1992)).
11          Here, Defendant attaches as Exhibit 1 to the Declaration of Philip Stillman a
12     spreadsheet displaying search results in PACER for ADA cases filed by Strojnik in
13     various federal district courts, including in California, since May 2018. (Oki. 15-2
14     ("Stillman Deel.") at Ex. 1). Strojnik doesn't raise any dispute about this
15     spreadsheet, and he doesn't contest that he filed the cases listed in the
16     spreadsheet.
17           The Court takes judicial notice of Defendant's spreadsheet because
18     Strojnik's proceedings in other federal courts directly relate to the matter at issue
19     in this case and aren't subject to dispute.
20               C. Plaintiff's Exhibits 1-10
21           With his Opposition, Strojnik submits a Declaration with the following ten
22     exhibits attached. Strojnik doesn't seek judicial notice of these documents, but
23     nevertheless requests that the Court consider them in ruling on this Motion.
24           •   Exhibit 1: Order Imposing Sanctions and Referring Counsel to Standing
25               Committee, Case No. 3:20-cv-02736-SK, 0kt. No. 20 (N.D. Cal. Aug. 21,
26               2020);
27           •   Exhibit 2: Declaration of Philip H. Stillman In Support of Motion to Require
28               Plaintiff to Post a Costs Bond and Exhibits 1-3, Strojnik v. President Hote

                                                     4
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 Case 3:21-cv-01458-JLS-DEB Document 6 Filed 10/05/21 PageID.130 Page 44 of 54
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 1            Investment, LLC, Case No. 8:20-cv-00258-DOC-ADS, Dkt. 35-2 (C.D.
2             Cal. May 21, 2020);
3         •   Exhibit 3: Aug. 31, 2020 Email Exchange between Peter Strojnik and
4             Philip H. Stillman;
5         •   Exhibit 4: June 11, 2020 Invoice, Stillman & Associates, Strojnik v.
6             President Hotel Investment, LLC, Case No. 8:20-cv-00258-DOC-ADS,
7             Dkt. 47-2 (C.D. Cal. June 11, 2020);
8         • Exhibit 5: Plaintiff's Objection to Defendant's Motion for Attorney's Fees
9             or Sanctions Pursuant to Rule 11, 28 U.S.C. §1927 and This Court's
10            Inherent Powers and Request for Limited Discovery, Strojnik v. Presiden
11            Hotel Investment, LLC, Case No. 8:20-cv-00258-DOC-ADS, Dkt. 49 (C.D.
12            Cal. June 16, 2020);
13        •   Exhibit 6: Dec. 13, 2017 Secretary of State Certificate of Dissolution,
14            Strojnik v. President Hotel Investment, LLC, Case No. 8:20-cv-00258-
15            DOC-ADS, Dkt. 49-1 (C.D. Cal. June 16, 2020);
16        •   Exhibit 7: Declaration of Philip H. Stillman In Support of Motion to Require
17            Plaintiff to Post a Costs Bond and Exhibits 1--4, Strojnik v. President Hate
18            Investment, LLC, Case No. 8:20-cv-00258-DOC-ADS (originally filed in
19            Strojnik v. Woodside Hotel Group, LTD, Case No. 5:20-cv-02304-NC, Dkt.
20            7-2 (N.D. Cal. June 3, 2020)), Dkt. 49-2 (C.D. Cal. June 16, 2020);
21        • Exhibit 8: Notice of Errata Re: Declaration of Philip Stillman in Support o
22            Defendant's Motion for Attorney's Fees or in the Alternative, Fo
23            Sanctions Pursuant to Rule 11, 28 U.S.C. §1927 and This Court's
24            Inherent Powers, Strojnik v. President Hotel Investment, LLC, Case No.
25            8:20-cv-00258-DOC-ADS, Dkt. 50 (C.D. Cal. June 17, 2020);
26        • Exhibit 9: Reply Declaration of Philip H. Stillman In Support of Motion fo
27            Attorney's Fees, Strojnik v. President Hotel Investment, LLC, Case No.
28

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                                                                        3:19-cv-1991-LAB (JLB)
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 1              8:20-cv-00258-DOC-ADS, Dkt. 51-1 (C.D. Cal. June 29, 2020); and
2             • Exhibit 10: Megawine, Inc. v. Frank-Lin Distillers Products, LTD.,
 3              California Court of Appeals, Second District, Fourth Division (Oct. 24,
4               2016).
 5   (Dkt. 16.)
 6            The Court neither finds these exhibits the proper subject of judicial notice,
 7   nor does the Court consider any of them relevant to the issues raised in
 8   Defendant's Motion. In his Opposition, Strojnik scarcely responds to the substance
 9   of Defendant's arguments. He opts instead to hurl accusations at defense counsel
10   and attack his character and professional standing. But Defendant's Motion
11   concerns the actions of Strojnik-not those of defense counsel-and at the motion
12   hearing, Strojnik couldn't articulate why these exhibits are relevant. As such, the
13   Court refrains from considering these exhibits in ruling on the Motion.
14      II.      BACKGROUND
15            Strojnik filed this action on October 16, 2019, alleging that he is "a veteran"
16   and a "legally disabled" person as defined by the ADA, California Disabled Persons
17   Act ("DPA"), and California Unruh Civil Rights Act ("Unruh Act"). (Dkt. 1 ,r,r 1-3).
18   Strojnik alleged that he had intended on visiting the La Avenida hotel, which is
19   allegedly owned by Defendant and located at 1315 Orange Avenue in Coronado,
20   California, but he had encountered barriers to accessibility there that violated the
21   ADA. (Id.    ,r,r 15-16). The Court dismissed the original complaint without prejudice
22   due to various defects in it, including Strojnik's failure to properly invoke the Court's
23   jurisdiction and because the complaint lacked any clear factual allegations showing
24   what barriers existed in the La Avenida hotel. (Dkt. 3).
25            Strojnik then filed an amended complaint, but it suffered from many of the
26   same defects. (Dkt. 4). Strojnik additionally failed to complete service of process
27   within 90 days of the date he filed his amended complaint, as required by Fed. R.
28   Civ. P. 4(m), and hadn't taken any steps to prosecute his case other than to file an

                                                  6
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 1     incorrect proof of service. Strojnik was ordered to show cause why this action
2      shouldn't be dismissed for his failure to serve and for failure to prosecute. (0kt.
 3     13). Strojnik filed no response to the Court's order and the action was ultimately
4      dismissed without prejudice. (0kt. 14 ).
 5               Defendant now moves to declare Strojnik a vexatious litigant and has
 6     requested that the Court enter a pre-filing order against him. (0kt. 15). The Court
 7     now analyzes Defendant's pending Motion.
 8        Ill.     MOTION TO DECLARE STROJNIK A YEXA TIOUS LITIGANT
 9                 A. Legal Standard
10               The All Writs Act, 28 U.S.C. § 1651(a), grants district courts the inherent
11     power to enter pre-filing orders against litigants who frequently abuse the judicial
12     system by filing lawsuits that are frivolous or harassing. Molski v. Evergreen
13     Dynasty Corp., 500 F.3d 1047, 1057 (9th Cir. 2007). Pre-filing orders include those
14     that "enjoin the litigant from filing further actions or papers unless he or she first
15     meets certain requirements, such as obtaining leave of the court or filing
16     declarations that support the merits of the case." Weissman v. Quail Lodge, Inc.,
17     179 F.3d 1194, 1197 (9th Cir. 1999). But pre-filing orders are an "extreme remedy"
18     and "[c]ourts should not enter pre-filing orders with undue haste because such
19     sanctions can tread on a litigant's due process right of access to the courts."
20     Molski, 500 F.3d at 1057.
21                  B. Discussion
22               The Ninth Circuit has adopted a four-factor test to determine whether a pre-
23     filing review order is warranted. Specifically, a pre-filing review order may be
24     appropriate if: (1) the plaintiff was given adequate notice and an opportunity to
25     oppose the order; (2) there is an adequate record for review; (3) the Court makes
26     substantive findings as to the frivolous or harassing nature of the litigant's actions;
27     and (4) the order is narrowly tailored "to closely fit the specific vice encountered."
28     Id. (quoting De Long v. Hennessey, 912 F.2d 1144, 1147-48 (9th Cir. 1990)).

                                                   7
                                                                            3:19-cv-1991-LAB (JLB)
 Case 3:21-cv-01458-JLS-DEB Document 6 Filed 10/05/21 PageID.133 Page 47 of 54
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1          Here, all four De Long factors have been satisfied and a finding that
2    Petitioner is a vexatious litigant is warranted.
3                     1.      Notice
4          The first factor concerns whether the litigant in question has been afforded
5    proper notice of the potential order and given an opportunity to be heard. Molski,
6    500 F .3d at 1058 ("The first factor under De Long is whether Molski was given
 7   notice and an opportunity to be heard before the district court entered the pre-filing
 8   order. This is a core requirement of due process."). "[A]n opportunity to be heard
 9   does not require an oral or evidentiary hearing on the issue .... The opportunity
10   to brief the issue fully satisfies due process requirements." Pacific Harbor Capital,
11   Inc. v. Carnival Air Lines, Inc., 210 F.3d 1112, 1118 (9th Cir. 2000).
12         Defendant filed its Motion on September 14, 2020 (Dkt. 15), Strojnik had the
13   opportunity to respond to the Motion on September 23, 2020 (0kt. 16), and Strojnik
14   presented oral argument at the motion hearing held on September 27, 2021.
15   Strojnik has therefore been given notice and an opportunity to be heard in
16   accordance with due process.
17                    2.      Adequate Record for Review
18         The Court must provide a thorough record of the plaintiff's litigation history
19   before declaring the plaintiff to be a vexatious litigant. "An adequate record fo
20   review should include a listing of all the cases and motions that led the district court
21   to conclude that a vexatious litigant order was needed." De Long, 912 F .2d at 1147.
22   An "injunction cannot issue merely upon a showing of litigiousness." Id. at 1148
23   (citation omitted). Instead, the record must at least "show, in some manner, that
24   the litigant's activities were numerous or abusive." Id. at 114 7.
25          Defendant provides a listing of these cases in its Motion. (See Stillman Deel.
26   at Ex. 1.) That listing reflects search results in PACER for ADA cases filed by
27   Strojnik in federal district courts in California, Arizona, Colorado, Hawaii, Idaho,
28   New Mexico, Puerto Rico, Texas, and Washington. In California alone, Strojnik

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 1     has filed nearly 126 ADA cases since May 2018. 2
2           • ADA cases filed in California district courts: 126
3                  o Northern District: 42
4                  o Eastern District: 27
 5                 o Central District: 34
 6                 o Southern District: 23
 7          On this extensive record of Strojnik's ADA litigation in California federal
 8     courts, the Court finds that there is an adequate record for review.
 9                      3.     Frivolous Litigation History
10           The third requirement under the De Long analysis gets to the heart of the
11     matter-whether Strojnik's actions are frivolous or harassing. De Long, 912 F.2d
12     at 1148 (quoting In re Powell, 851 F.2d 427, 431 (D.C. Cir. 1988)). "To decide
13     whether the litigant's actions are frivolous or harassing, the district court must look
14     at both the number and content of the filings as indicia of the frivolousness of the
15     litigant's claims." Molski, 500 F.3d at 1059 (quoting De Long, 912 F.2d at 1148)
16     (internal citations omitted). The court must consider the following five factors:
17
                   1) the litigant's history of litigation and in particular whether
18                 it entailed vexatious, harassing or duplicative lawsuits;
19                 (2) the litigant's motive in pursuing the litigation, e.g., does
                   the litigant have an objective good faith expectation of
20                 prevailing?; (3) whether the litigant is represented by
21                 counsel; (4) whether the litigant has caused needless
                   expense to other parties or has posed an unnecessary
22                 burden on the courts and their personnel; and (5) whether
23
24
25     2Defendant's spreadsheet lists 125 cases filed in California. However, per Fed. R.
       Evid. 201, the Court takes judicial notice on its own of an additional ADA case filed
26     by Strojnik in the Northern District of California that isn't included in Defendant's
27     spreadsheet: Strojnik v. Cypress Inn Investors, Case No. 3:19-cv-03981 (N.D.
       Cal., filed July 11, 2019).
28

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 1                 other sanctions would be adequate to protect the courts
                   and other parties.
2
3      Molski, 500 F.3d at 1051 (quoting Safir v. United States Lines, Inc., 792 F.2d 19,
4      24 (2d Cir. 1986)).
 5           Strojnik's history of filing frivolous, near-identical disability access complaints
6      in both state and federal court is not only extensive but also widely known among
 7     state and federal courts. In May 2019, Strojnik was disbarred by the State o
 8     Arizona for his "extortionate practice" of "filing thousands of frivolous ADA lawsuits"
 9     against small businesses in both state and federal courts between 2016 and 2018,
10     causing "an enormous strain on the court system." (RJN, Ex. 3 at,i,i 3-4, 14; RJN,
11     Ex. 5). The State Bar of Arizona noted that Strojnik had "pursued upwards of 160
12     cookie-cutter lawsuits in federal court and, from early to later 2016, more than
13     1,700 such suits in Arizona state court." (RJN, Ex. 1 at 3). It further noted that "the
14     State obtained dismissals of hundreds of state court proceedings in light of simila
15     behavior and related standing failings" (RJN, Ex. 2 at 1), and it characterized
16     Strojnik's activities as "one of the largest, and still ongoing, abuses of Arizona state
17     and federal courts in history" (id.). On May 8, 2019, Strojnik consented to his
18     disbarment as a member of the State Bar of Arizona (RJN, Ex. 4), and on May 10,
19     2019, the State Bar of Arizona issued a final Judgment of Disbarment against
20     Strojnik (RJN, Ex. 5).

21           Strojnik was undeterred. Though no longer a licensed attorney, Strojnik
22     continued filing ADA cases, but this time as a prose plaintiff. His disability access
23     complaints have largely included the same "boilerplate allegations that omit basic
24     details necessary to establish standing." Strojnik v. IA Lodging Napa First LLC, No.
25     19-CV-03983-DMR, 2020 WL 2838814, at *11 (N.D. Cal. June 1, 2020). Indeed,
26     courts have acknowledged that Strojnik "files near identical lawsuits, save a few
27     photographs and name changes," Strojnik v. SCG Am. Constr. Inc., No.
28     SACV191560JVSJDE, 2020 WL 4258814, at *7 (C.D. Cal. Apr. 19, 2020), and that


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1 "Strojnik has continued to file formulaic complaints that fail to allege Article Ill
2      standing, despite being on notice from multiple courts in every federal district in
 3     California that his pleading practices are inadequate." Strojnik v. IA Lodging Napa
4      First LLC, 2020 WL 2838814, at *12. Although he is a former attorney with
 5     significant experience with ADA claims, Strojnik persists in pleading "vague"
 6     allegations and he "repeatedly fails to allege how alleged barriers violate the ADA
 7     or affected him based on his specific disabilities." Id. at *11.
 8           Moreover, it has already been acknowledged that Strojnik "has settled the
 9     majority of his cases early in litigation, either before the defendant has appeared
10     or soon thereafter. This pattern of early settlements may indicate an intent to
11     extract quick case settlements." Id. at *10. Strojnik himself admitted to the court in
12     Strojnik v. IA Lodging Napa First LLC that the gross total amount he had received
13     in settlement until that point was $249,079. Id. at *7. And where his cases haven't
14     settled, Strojnik's near-identical complaints (such as the one filed in this case) have
15     either been dismissed-many with prejudice-for failure to allege standing or fo
16     other reasons, including failure to prosecute and/or failure to comply with court
17     orders. See e.g., Strojnik v. San Diego Farah Partners, L.P., No. 20CV358-LAB
18     (BGS), 2021 WL 778652, at *5 (S.D. Cal. Mar. 1, 2021) (dismissing Strojnik's
19     complaint for failing to plausibly state a claim and for failing to allege standing);
20     Strojnik v. Viii. 1017 Coronado, Inc., No. 19-CV-02210-BAS-MSB, 2020 WL
21     3250608, at *5 (S.D. Cal. June 16, 2020) ("At this point, Mr. Strojnik is on notice
22     what needs to be alleged to establish standing and yet he has not done so in this
23     case. The Court can only conclude that he has not done so because he cannot do
24     so. Therefore, the Court dismisses Count One with prejudice."); Strojnik v. DMD
25     Lodging, Inc., Case No. 20-cv-00064-DOC-JDE, Docket No. 11 (C.D. Cal. Apr. 1,
26     2020) (dismissing complaint for failure to prosecute and comply with court orders);
27     Strojnik v. Classic Hotels & Resorts LLC, Case No. 19-cv-05149-LHK, Docket No.
28      11 (N.D. Cal. Jan. 3, 2020) (dismissing complaint for failure to prosecute).

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1           As a result of his bad faith conduct, Strojnik was declared a vexatious litigant
2      in both the Northern District and Central District of California. Id. (granting the
3      defendant's motion to declare Strojnik a vexatious litigant and finding that
4      "Strojnik's pleading practices waste the resources of the court and 'impose[ ]
 5     unjustified costs on parties who are forced to defend loosely pleaded complaints
6      that do not allege specific facts about their misconduct"') (internal citations
 7     omitted); Strojnik v. SCG Am. Constr. Inc., 2020 WL 4258814, at *7 (declaring
 8     Strojnik a vexatious litigant and noting that "Strojnik should be very well aware o
 9 the type of conduct that is permissible, yet despite repeated questioning of his
10     intentions, he continues to file countless ADA cases in an effort to obtain money
11     from his victims"). Both courts entered pre-filing orders against Strojnik, thereby
12     limiting his ability to file ADA complaints in those courts in the future.
13           And yet, Strojnik has persisted in filing duplicitous and frivolous complaints.
14     Multiple courts in the Southern District have cautioned Strojnik against his actions,
15     but to no avail. See e.g., Strojnik v. San Diego Farah Partners, L.P., No. 20CV358-
16     LAB (BGS), 2021 WL 778652, at *4 (S.D. Cal. Mar. 1, 2021) ("As Strojnik has been
17     told before, he must also plead facts showing that an alleged ADA violation affects
18     him because of his disability. The fact that it could affect some other disabled
19     person does not afford him Article Ill standing."); Strojnik v. Viii. 1017 Coronado,
20     Inc., No. 19-CV-02210-BAS-MSB, 2020 WL 3250608, at *4 (S.D. Cal. June 16,
21     2020) ("Plaintiff, both as a lawyer in Arizona, and now acting pro se, has filed
22     identical allegations in multiple courts and has been repeatedly told that the
23     allegations are insufficient for standing."); Strojnik v. Braemar P'ship, No. 19-CV-
24     01446-BAS-AHG, 2020 WL 3250184, at *1 (S.D. Cal. June 16, 2020) ("Plaintiff,
25     proceeding pro se, has filed thousands of disability discrimination lawsuits against
26     hotel defendants in state and federal courts.") (internal citations omitted).
27           Strojnik claims to be a champion of disability rights-but a champion he most
28     certainly is not. The fact that his complaints have overwhelmingly been dismissed

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 1     or have settled very early on in the litigation indicates to the Court that he is aware
2      he doesn't have a good-faith basis for bringing these claims, and yet he does so
 3     anyway with the intention of harassing defendants and extorting settlements out o
4      them. The sheer number of deficient complaints filed by him has not only imposed
 5     a significant strain on the court system, but it has also resulted in the harassment
 6     of numerous establishments across various jurisdictions. Strojnik is well aware that
 7     his frivolous lawsuits waste the courts' time and cause inconvenience to third
 8     parties, and it is abundantly apparent that he simply doesn't care. Strojnik's utter
 9     disregard for court orders and basic pleading requirements is nothing short of an
10     abuse of the judicial process, and he shouldn't be permitted to continue with this
11     exploitative behavior.
12                       4.      Narrowly Tailored Pre-Filing Order
13              Finally, the pre-filing order "must be narrowly tailored to the vexatious
14     litigant's wrongful behavior." Molski, 500 F.3d at 1061. Defendant requests that the
15     Court "impos[e] a pre-filing Order on [Strojnik] in the Southern District." (Dkt. 15 at
16     1:5-6). The Court disagrees with Defendant's suggestion that the pre-filing orde
17     should apply to any action filed by Strojnik. Instead, the Court limits the pre-filing
18     order to future claims brought by Strojnik in the Southern District of California under
19     the ADA and concerning access to public accommodations.
20        II.     REQUEST FOR ATTORNEY'S FEES
21              Defendant requests that it be awarded attorney's fees incurred in connection
22     with Defendant's motion to declare Strojnik a vexatious litigant subject to a pre-
23     filing order. Defendant provides billing records justifying its claim that the lodestar
24     for preparing and defending this Motion is $11,400 (Stillman Deel. at       ,m 16-18),
25     as well as a "Real Rate Report" from September 2018 showing the average rates
26     for partners in San Diego (id. at Ex. 3). The Court finds the rate of $500 an hour is
27     the prevailing rate for an attorney of Mr. Stillman's qualifications and experience in
28      San Diego, and, having reviewed the billing record entries, finds the hours spent

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 1 defending this action to be reasonable. See Sam K. ex rel. Diane C. v. Hawaii Dep'
2      of Educ., 788 F.3d 1033, 1041 (9th Cir. 2015) (considering "satisfactory evidence
 3     of the prevailing market rates" and permitting district courts to "use their own
4      knowledge of customary rates and their experience concerning reasonable and
 5     proper fees" when determining attorney's fees) (internal citations and quotations
 6     omitted). Defendant's request for attorney's fees is GRANTED.
 7        Ill.     CONCLUSION
 8               Defendant's motion to declare Strojnik a vexatious litigant subject to a pre-
 9     filing order is GRANTED IN PART AND DENIED IN PART. Strojnik is enjoined
10     from filing any civil action in the Southern District of California that alleges a cause
11     of action for a violation of the ADA without first obtaining certification from this
12     Court that his claims plausibly allege Article Ill standing and are not frivolous o
13     asserted for an improper purpose. To the extent Strojnik wishes to file a complaint
14     that challenges access to public accommodations, Strojnik must provide a copy o
15     the complaint, a letter requesting that the complaint be filed, and a copy of this
16     order to the Clerk of the Court. The Clerk shall forward the complaint, letter, and
17     copy of this order to this Court for a determination of whether the complaint should
18     be accepted for filing.
19               Defendant's request for attorney's fees is additionally GRANTED. Strojnik is
20     ordered to pay the requested amount of $11,400 to Defendant by cashier's check
21     by October 6, 2021. Strojnik will be subject to a contempt hearing and
22     sanctions if he violates this Order, and any action filed in violation of this
23     Order will be subject to dismissal.
24               IT IS SO ORDERED.
25      Dated: September 29, 2021
26                                                 Honorable Larry Alan Burns
                                                   United States District Judge
27
28

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